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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


   In Re: LIQUID ALUMINUM SULFATE                         Civil Action No. 16-md-2687 (JLL) (JAD)
   ANTITRUST LITIGATION


           SETTLEMENT AGREEMENT BETWEEN INDIRECT PURCHASER
       CLASS PLAINTIFFS AND DEFENDANTS GEO SPECIALTY CHEMICALS, INC.,
                   KENNETH A. GHAZEY AND BRIAN C. STEPPIG

           THIS SETTLEMENT AGREEMENT is made and entered into as of the 15th day of June

   2018 by and between on the one hand: Plaintiffs City of Homestead, Florida, and City of Creston

   Water Works Department (collectively, “Indirect Purchaser Class Plaintiffs”), individually and

   on behalf of the putative Indirect Purchaser Settlement Class; and on the other hand Defendant

   GEO Specialty Chemicals Inc. (“GEO”), Kenneth A. Ghazey (“Ghazey”) and Brian C. Steppig

   (“Steppig”) (collectively the “GEO Settling Parties”). The Indirect Purchaser Class Plaintiffs,

   Indirect Purchaser Settlement Class, and the GEO Settling Parties are referred to collectively as

   the “Parties” and individually as a “Party.” 1 This Agreement does not release any claims of the

   Indirect Purchaser Class Plaintiffs and the other members of the Indirect Purchaser Settlement

   Class against any Non-Settling Defendant.

           WHEREAS, Indirect Purchaser Class Plaintiffs (on behalf of themselves and as

   representatives of the putative class of similarly-situated persons) allege in the Consolidated

   Proceedings, as defined below, among other things, that the GEO Settling Parties participated in

   a conspiracy – with other Defendants in this litigation and unnamed co-conspirators – to allocate

   territories and/or not to compete for each other’s historical business by rigging bids, allocating



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       All terms with initial capitalization shall have the meanings set forth in Paragraph 1 below or as otherwise
       defined herein.
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   customers, and fixing, stabilizing, and maintaining the price of liquid aluminum sulfate (“Alum”)

   sold in the United States from January 1, 1997 through February 28, 2011;

          WHEREAS, Interim IPP Lead Counsel has been appointed by the Court to represent, on

   an interim basis, the putative class of Indirect Purchasers;

          WHEREAS, the GEO Settling Parties acknowledge that it is appropriate, solely as part of

   this Settlement, and subject to Final Judgment, to stipulate to the certification of the Indirect

   Purchaser Settlement Class, as defined below, and that the prerequisites of Federal Rule of Civil

   Procedure 23 have been satisfied here;

          WHEREAS, the Parties wish to resolve all claims asserted and all claims that could have

   been asserted in the Consolidated Proceedings by Indirect Purchaser Class Plaintiffs against the

   GEO Settling Parties for participating in a conspiracy – with other Defendants in this litigation

   and unnamed co-conspirators – to allocate territories and/or not to compete for each other’s

   historical business by rigging bids, allocating customers, and fixing, stabilizing, and maintaining

   the price of Alum sold in the United States from January 1, 1997 through February 28, 2011;

          WHEREAS, counsel for the Parties have engaged in arm’s-length negotiations on the

   terms of this Agreement, as defined below, and this Agreement embodies all of the terms and

   conditions of the Settlement;

          WHEREAS, Indirect Purchaser Class Plaintiffs have concluded, after preliminary

   discovery and investigation of the facts and after considering the circumstances of the Class

   Action and the applicable law, as well as the value of the GEO Settling Parties’ cooperation to

   the Indirect Purchaser Class Plaintiffs in seeking relief in the Class Action, that it is in the best

   interests of Indirect Purchaser Class Plaintiffs to enter into this Agreement with the GEO Settling

   Parties to avoid the uncertainties of further complex litigation, and to obtain the benefits




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   described herein for the Indirect Purchaser Settlement Class, and, further, that this Settlement (as

   defined below) is fair, reasonable, adequate, and in the best interests of Indirect Purchaser Class

   Plaintiffs and the Indirect Purchaser Settlement Class;

          WHEREAS, the GEO Settling Parties wish to avoid the costs, expenses, and uncertainties

   of this complex litigation;

          NOW THEREFORE, in consideration of the foregoing, the terms and conditions set forth

   below, and other good and valuable consideration, it is agreed by and among the Parties that the

   Indirect Purchaser Class Action and Indirect Purchaser Settlement Class Member claims be

   settled and compromised, and dismissed on the merits with prejudice as to the GEO Settling

   Parties, subject to Court approval:

          1.      Definitions: The following terms shall have the following meanings for purposes

                  of this Agreement.

                  a.      “Agreement” means this Settlement Agreement Between Indirect

                          Purchaser Class Plaintiffs and Defendants GEO Specialty Chemicals, Inc.,

                          Kenneth A. Ghazey and Brian C. Steppig.

                  b.      “Bankruptcy Appeal” means that certain appeal taken by GEO of the

                          Opinion entered by the Bankruptcy Court on December 4, 2017.

                  c.      “Bankruptcy Court” means the United States Bankruptcy Court for the

                          District of New Jersey with jurisdiction over the GEO Bankruptcy Case.

                  d.      “Case Contribution Award” means compensation for Indirect Purchaser

                          Class Plaintiffs for their time and effort undertaken in the Class Action.

                  e.      “Class Action” or “Indirect Purchaser Class Action” means City of

                          Homestead Florida v. General Chemical Corporation, Inc., et. al., 2:33-




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                    cv-02873-JLL-JAD and City of Creston Waterworks Department v.

                    General Chemical Corporation, Inc., et. al., 2:16-cv-04037-JLL-JAD both

                    putative class actions filed by Indirect Purchaser Class Plaintiffs in the

                    Consolidated Proceedings.

               f.   “Consolidated Proceedings” means the consolidated proceedings entitled,

                    In re: Liquid Aluminum Sulfate Antitrust Litigation, No. 16-md-2687

                    (JLL) (JAD), pending in the United States District Court for the District of

                    New Jersey and any Indirect Purchaser claim or complaint filed in or

                    transferred to these proceedings.

               g.   “Court” means the United States District Court for the District of New

                    Jersey.

               h.   “Defendants” mean the Defendants in the Consolidated Proceedings.

               i.    “Execution Date” means the date all Parties to this Agreement sign the

                    Agreement.

               j.   “Final Approval” means an order and judgment by the Court which finally

                    approves this Agreement and the Settlement pursuant to Federal Rule of

                    Civil Procedure 23 and dismisses with prejudice the GEO Settling Parties

                    from the Indirect Purchaser Class Action.

               k.   “Final Judgment” means the first date upon which both of the following

                    conditions shall have been satisfied:

                    i.        Final Approval; and

                    ii.       Either (1) thirty days have passed from the date of Final Approval

                              with no notice of appeal having been filed with the Court; or (2)




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                           Final Approval has been affirmed by a mandate issued by any

                           reviewing court to which any appeal has been taken, and any

                           further petition for review (including certiorari) has been denied,

                           and the time for any further appeal or review of Final Approval has

                           expired.

               l.   “GEO Bankruptcy Case” means that certain chapter 11 case, Case No. 04-

                    19148-RG, commenced in the Bankruptcy Court.

               m.   “GEO Released Parties” means the GEO Settling Parties, the GEO

                    Settling Parties’ heirs or executors, and GEO’s current and former, direct

                    and indirect parents, subsidiaries, affiliates, insurers, directors, officers,

                    shareholders, and employees, other than Alex Avraamides, who shall not

                    be deemed a Party to or a third-party beneficiary of this Agreement, and

                    who is in no way released from any claims asserted by Indirect Purchasers

                    in the Consolidated Proceedings. As used in this Paragraph, “affiliates”

                    means entities controlling, controlled by or under common ownership or

                    control with, in whole or in part, any of the GEO Released Parties.

               n.   “Indirect Purchaser” or “Indirect Purchasers” means all persons or entities

                    that purchased Alum in the Indirect Purchaser States indirectly from a

                    Defendant or a co-conspirator and not for resale from January 1, 1997 to

                    February 28, 2011.

               o.   “Indirect Purchaser Settlement Class Member” means any person or entity

                    that is a member of the Indirect Purchaser Settlement Class.




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               p.   “Indirect Purchaser Escrow Account” means the escrow account

                    established to receive and maintain funds contributed on behalf of the

                    GEO Settling Parties for the benefit of the Indirect Purchaser Settlement

                    Class.

               q.   “Indirect Purchaser Escrow Agreement” means that certain agreement by

                    and among GEO, a bank designated to hold the Indirect Purchaser Escrow

                    Account, and Indirect Purchaser Class Plaintiffs (by and through Interim

                    IPP Lead Counsel) pursuant to which the Indirect Purchaser Escrow

                    Account is established and funded for the benefit of the Indirect Purchaser

                    Settlement Class, including Indirect Purchaser Class Plaintiffs.

               r.   “Indirect Purchaser Settlement Class” means all Indirect Purchasers,

                    including the Indirect Purchaser Class Plaintiffs. This also means certain

                    additional plaintiffs that filed their own suit in the Consolidated

                    Proceedings (identified in Exhibit A) that purchased Alum in the Indirect

                    Purchaser States indirectly from a Defendant or co-conspirator from

                    January 1, 1997 through February 28, 2011 (“Direct Action Indirect

                    Purchaser Settlement Class Members”). To the extent the Direct Action

                    Indirect Purchaser Settlement Class Members also made direct purchases

                    of Alum from GEO, such direct purchases are not subject to this

                    Agreement. The Direct Action Indirect Purchaser Settlement Class

                    Members may participate in this Settlement, and will be subject to and

                    bound by this Agreement, only to the extent of their indirect purchases of

                    Alum from GEO. Excluded from the Indirect Purchaser Settlement Class




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                    are 1) Defendants and co-conspirators and their respective parents,

                    subsidiaries, and affiliates, and 2) any Indirect Purchasers who timely and

                    validly elect to be excluded from the Indirect Purchaser Settlement Class.

               s.   “Indirect Purchaser States” means Alabama, Arkansas, Arizona,

                    California, Colorado, District of Columbia, Florida, Hawaii, Illinois, Iowa,

                    Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi,

                    Nebraska, Nevada, New Hampshire, New Mexico, New York, North

                    Carolina, North Dakota, Oregon, Puerto Rico, Rhode Island, South

                    Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and

                    Wisconsin.

               t.   “Interim IPP Lead Counsel” means Jay B. Shapiro of Stearns Weaver

                    Miller Weissler Alhadeff & Sitterson, P.A., and Marvin A. Miller of

                    Miller Law LLC, as appointed by the Court to represent the putative class

                    of Indirect Purchasers on an interim basis.

               u.   “Non-Settling Defendant” means any Defendant in the Consolidated

                    Proceedings, including any Defendants that may be added at a later date,

                    other than the GEO Settling Parties.

               v.   “Notice and Administrative Costs” means the reasonable and authorized

                    costs and expenses of disseminating and publishing the Indirect Purchaser

                    Class Notices, as defined below, and all reasonable and authorized costs

                    and expenses incurred by the Settlement Administrator in administering

                    the Settlement, including but not limited to costs and expenses associated




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                    with assisting members of the Indirect Purchaser Settlement Class,

                    processing claims, escrowing funds, and issuing and mailing payments.

               w.   “Preliminary Approval” means a finding by the Court to preliminarily

                    approve this Agreement and the Settlement pursuant to Federal Rule of

                    Civil Procedure 23.

               x.   “Released Claims” shall have the meaning set forth in Paragraph 15 of this

                    Agreement.

               y.   “Releasing Party” or “Releasing Parties” shall refer individually and

                    collectively, to the Indirect Purchaser Settlement Class and all Indirect

                    Purchaser Settlement Class Members, including the Indirect Purchaser

                    Class Plaintiffs, each on behalf of themselves and their respective

                    predecessors and successors; their current and former, direct and indirect

                    parents, subsidiaries and affiliates; their present and former shareholders,

                    partners, directors, officers, owners of any kind, principals, members,

                    agents, employees, contractors, attorneys, insurers, heirs, executors,

                    administrators, devisees, representatives; their assigns of all such persons

                    or entities, as well as any person or entity acting on behalf of or through

                    any of them in any capacity whatsoever, jointly and severally; and any of

                    their past, present and future agents, officials acting in their official

                    capacities, legal representatives, agencies, departments, commissions and

                    divisions; and also means, to the full extent of the power of the signatories

                    hereto to release past, present and future claims, the following: (1) any

                    Releasing Party’s subdivisions (political or otherwise, including, but not




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                      limited to, municipalities, counties, parishes, villages, unincorporated

                      districts and hospital districts), public entities, public instrumentalities and

                      public education institutions; and (2) persons or entities acting in a parens

                      patriae, sovereign, quasi-sovereign, private attorney general, qui tam,

                      taxpayer or any other capacity, whether or not any of them participate in

                      this settlement. As used in this Paragraph, “affiliates” means entities

                      controlling, controlled by or under common ownership or control with, in

                      whole or in part, any of the Releasing Parties.

               z.     “Settlement” means the settlement of the Indirect Purchaser Class Action

                      with respect to the GEO Released Parties, as set forth in this Agreement.

               aa.    “Settlement Administrator” means A.B. Data, Ltd., the firm retained to

                      disseminate the Indirect Purchaser Class Notices and administer the

                      Settlement, subject to approval of the Court.

               bb.    “Settlement Class Period” means January 1, 1997 through February 28,

                      2011. However, to the extent the Class Period, as that term is defined in

                      the Indirect Purchaser Class Action, is expanded, the definition of

                      Settlement Class Period will also expand to the same time period, if such

                      expansion is approved by the Court prior to Final Approval.

               cc.    “Settlement Funds” means the payments required to be made by GEO

                      pursuant to this Agreement, including any interest accrued on such

                      payments.

         2.    The Parties’ Efforts to Effectuate this Settlement. The Parties agree to support

               entry of Final Approval, including through the conclusion of any appeal, motion




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               for re-argument, motion for rehearing, petition for a writ of certiorari or other

               writ.

         3.    Settlement Announcement and Litigation Standstill.        Upon execution of this

               Agreement, the Parties shall inform the Court and Non-Settling Defendants that

               the Parties have executed this Agreement. Upon execution of this Agreement, the

               Indirect Purchaser Class Plaintiffs and the Indirect Purchaser Settlement Class,

               through Interim IPP Lead Counsel, shall use their best efforts to cease all

               litigation activities related to the pursuit of claims against the GEO Released

               Parties in the Consolidated Proceedings (except as permitted in Paragraph 9 of

               this Agreement) (the “Litigation Standstill”). Indirect Purchaser Class Plaintiffs

               and GEO shall also inform the Bankruptcy Court that the parties have executed a

               settlement agreement.     GEO shall request a stay of the Bankruptcy Appeal

               pending Final Judgment.

         4.    Motions for Preliminary Approval. As soon as practicable, and in no event later

               than June 29, 2018, unless otherwise extended by written agreement of the

               Parties, Indirect Purchaser Class Plaintiffs, through Interim IPP Lead Counsel,

               shall submit to the Court a motion for Preliminary Approval of this Agreement,

               seeking certification of the Indirect Purchaser Settlement Class for settlement

               purposes. The Preliminary Approval motion shall include: (a) the proposed

               definition of the class for settlement purposes; (b) a proposed form of, method for,

               and date of dissemination of notice; (c) a proposed schedule for the filing of any

               motion for fees and expenses, the filing of a motion to approve finally this

               Agreement, and a final fairness hearing; and (d) a proposed form of order




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               preliminarily approving this Agreement and certifying the Indirect Purchaser

               Settlement Class for settlement purposes. The text of the items referred to in

               clauses (a) through (d) above shall be proposed by Indirect Purchaser Class

               Plaintiffs, through Interim IPP Lead Counsel, subject to the agreement of the

               GEO Settling Parties, which agreement shall not be unreasonably withheld. The

               Parties shall take all reasonable actions as may be necessary to obtain Preliminary

               Approval of this Agreement and certification of the Indirect Purchaser Settlement

               Class.

         5.    Indirect Purchaser Class Notices. After Preliminary Approval, and subject to

               approval by the Court of the means for dissemination of notice of this Settlement

               (“Indirect Purchaser Class Notice”):

               a.       As set forth in Paragraph 9 below, GEO shall use its best efforts to provide

                        the names and addresses of all known Indirect Purchasers during the

                        Settlement Class Period.

               b.       Indirect Purchaser Class Notice shall be provided in accordance with a

                        notice plan which shall be submitted to the Court for approval in

                        connection with the motion for Preliminary Approval.

               c.       After Final Judgment has been obtained, and GEO’s right of rescission

                        under Paragraph 18 cannot be exercised or has been waived, and with

                        Court approval, all Notice and Administrative Costs, including without

                        limitation, costs and expenses associated with the Indirect Purchaser

                        Escrow Account, and the costs and expenses for filing of tax returns and

                        payment of taxes, will be paid out of the Settlement Funds as specified in




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                      the Indirect Purchaser Escrow Agreement.        All expenses and costs

                      incurred by the Indirect Purchaser Class Plaintiffs and Interim IPP Lead

                      Counsel shall be reimbursed and indemnified solely out of the Settlement

                      Funds, as provided by an order of the Court. The GEO Released Parties

                      and GEO Settling Parties shall not be liable for any costs, fees, or

                      expenses of any of Indirect Purchaser Class Plaintiffs’ and Interim IPP

                      Lead Counsel’s attorneys, experts, advisors, agents, or representatives.

                      All such costs, fees, and expenses shall be paid out of the Settlement

                      Funds.

         6.    Motion for Final Approval and Entry of Final Judgment. If the Court grants

               Preliminary Approval of this Agreement and certifies the Indirect Purchaser

               Settlement Class, Indirect Purchaser Class Plaintiffs, through Interim IPP Lead

               Counsel, shall – in accordance with the schedule set forth in the Court’s

               Preliminary Approval – submit to the Court a separate motion for Final Approval

               of this Agreement by the Court, the text of which shall be proposed by Interim

               IPP Lead Counsel, subject to the agreement of the GEO Settling Parties, which

               agreement shall not be unreasonably withheld. The motion for Final Approval

               shall seek entry of an order and Final Judgment:

               a.     finally approving the Settlement as being a fair, reasonable, and adequate

                      settlement for the Indirect Purchaser Settlement Class within the meaning

                      of Federal Rule of Civil Procedure 23, and directing the execution of the

                      Settlement pursuant to the terms and conditions set forth in this

                      Agreement;




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                 b.      subject to Paragraph 10, dismissing the Indirect Purchaser Class Action,

                         with prejudice as to the GEO Released Parties;

                 c.      subject to Paragraph 10, discharging and releasing the GEO Released

                         Parties from all Released Claims;

                 d.      reserving continuing and exclusive jurisdiction over the Settlement for all

                         purposes — including its administration and execution and disputes that

                         may arise concerning the GEO Settling Parties’ cooperation (as set forth in

                         Paragraph 9 of this Agreement); and

                 e.      determining under Fed. R. Civ. P. 54(b) that there is no just reason for

                         delay and directing that the judgment of dismissal as to the GEO Released

                         Parties shall be final and appealable and entered forthwith.

          The Parties shall take all reasonable steps to obtain Final Approval of the Settlement and

   Final Judgment. Within ten (10) days after the occurrence of Final Judgment, the Direct Action

   Indirect Purchaser Settlement Class Members and the GEO Settling Parties will file a stipulation

   of dismissal of the Direct Action Indirect Purchaser Settlement Class Members’ claims against

   the GEO Released Parties, with prejudice.

          7.     Escrow Account. The Indirect Purchaser Escrow Account will be established and

                 shall be administered by Interim IPP Lead Counsel for the Indirect Purchaser

                 Class Plaintiffs and Indirect Purchaser Settlement Class under the Court’s

                 continuing supervision and control pursuant to the Indirect Purchaser Escrow

                 Agreement.    No disbursements of funds from the Indirect Purchaser Escrow

                 Account will occur without order of the Court.




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         8.    Settlement Consideration. Subject to the provisions hereof, and in consideration

               of the release of Released Claims, GEO agrees to pay, on behalf of itself and the

               GEO Settling Parties, the total amounts set forth in this Paragraph 8.         No

               additional payments will be made to the Indirect Purchaser Class Plaintiffs or the

               Indirect Purchaser Settlement Class. The Settlement Funds represent all sums

               owed and payable by GEO and/or the GEO Released Parties pursuant to this

               Agreement, including payment of damages, attorneys’ fees, incentive fees, notice

               costs, costs of administration and costs of any kind.      The Parties agree and

               acknowledge that none of the Settlement Funds paid by or on behalf of GEO

               under this Agreement shall be deemed to be, in any way, a penalty or a fine of any

               kind. As provided herein, GEO will (a) cause the payments in Paragraph 8(a) and

               8(b) to be made into the Indirect Purchaser Escrow Account, (b) provide

               additional consideration as set forth in Paragraph 8(c), and (c) provide

               cooperation (as set forth in Paragraph 9 of this Agreement).

               a.     Initial Payment. GEO shall use its best efforts to cause its insurers to pay

                      $801,074 directly into the Indirect Purchaser Escrow Account within thirty

                      (30) days of Final Judgment. GEO shall also pay $898,926 into the

                      Indirect Purchaser Escrow Account (collectively, the “First Installment”).

                      If either GEO or GEO’s insurers for any reason do not timely make the

                      above-referenced payment, such non-payment shall constitute a material

                      breach of this Agreement pursuant to Paragraph 10 below.

               b.     Additional Payment.       GEO shall make one additional payment of

                      $1,675,000 that shall be paid into the Indirect Purchaser Escrow Account




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                     on or before the first anniversary of the First Installment. The Indirect

                     Purchaser Class Plaintiffs and the Indirect Purchaser Settlement Class

                     agree not to oppose receiving this payment before the first anniversary of

                     the First Installment, if GEO chooses to make payment before that date. If

                     GEO for any reason does not timely make the above-referenced payment,

                     such non-payment shall constitute a material breach of this Agreement,

                     justifying termination of the Agreement pursuant to Paragraph 10 below.

               c.    GEO Marketing Effort and Sale Proceeds.              GEO will undertake a

                     marketing process for a sale of all or substantially all of its equity

                     interests, a merger of GEO and another entity, or a sale of all or

                     substantially all of its assets (collectively, a “Sale”) that will commence no

                     later than thirty (30) days after entry of Final Judgment. The marketing

                     process will be conducted by a nationally-recognized investment banking

                     firm selected by GEO and reasonably acceptable to the Indirect Purchaser

                     Class Plaintiffs. Interim IPP Lead Counsel will be afforded reasonable

                     information rights regarding the status of the marketing effort, subject to

                     Interim IPP Lead Counsel agreeing to a confidentiality agreement. If this

                     marketing process is successful, upon the closing of the Sale, the Indirect

                     Purchaser Settlement Class shall be entitled to receive from GEO

                     additional compensation pursuant to an equity value formula set forth in

                     Exhibit B, up to $1,000,000. If the conditions for such payment are met

                     and GEO for any reason does not timely make the above-referenced

                     payment, such non-payment shall constitute a material breach of this




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                     Agreement, justifying termination of the Agreement pursuant to Paragraph

                     10 below.

               d.    EBITDA-Based Payments. In the event that, prior to the closing of a

                     Sale, GEO’s EBITDA in any of fiscal years 2018, 2019 or 2020 is at least

                     250% above the Mid-Point Estimate (as hereafter defined), the Indirect

                     Purchaser Settlement Class shall be entitled to payment of 25% of such

                     excess up to $1,000,000 in the aggregate. Any such distributions shall be

                     credited against the $1,000,000 set forth in Paragraph 8(c) herein. The

                     term “Mid-Point Estimate” means the mid-point of projections of

                     EBITDA for each of the years 2018, 2019 and 2020 prepared by GEO and

                     by the financial advisor(s) retained by the Indirect Purchaser Class

                     Plaintiffs. GEO and the Indirect Purchaser Class Plaintiffs shall work in

                     good faith to share information in order to permit the retained financial

                     advisor(s) to finalize their projections. If the conditions for such payment

                     are met and GEO for any reason does not timely make the above-

                     referenced payment, such non-payment shall constitute a material breach

                     of this Agreement, justifying termination of the Agreement pursuant to

                     Paragraph 10 below.

               e.    Shareholder Dividends. In the event that GEO makes any distributions

                     to its shareholders, in their capacities as such (collectively, “Shareholder

                     Distributions”), prior to the closing of the Sale, the Indirect Purchaser

                     Settlement Class shall be entitled to a pro rata share of such distributions

                     as if such distributions were proceeds of a Sale. Any such distributions




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                      shall be credited against the $1,000,000 set forth in Paragraph 8(c) herein.

                      For the avoidance of doubt, payments of interest, fees and expenses

                      required to be paid under credit facilities to which GEO is a party are not

                      Shareholder Distributions. If the conditions for such payment are met and

                      GEO for any reason does not timely make the above-referenced payment,

                      such non-payment shall constitute a material breach of this Agreement,

                      justifying termination of the Agreement pursuant to Paragraph 10 below.

               f.     Allocation   of   Sale   Proceeds,    EBITDA-Based        Payments,    and

                      Shareholder Dividends to the Indirect Purchaser Settlement Class. To

                      the extent any payments are made by GEO pursuant to subparagraph 8(c),

                      (d), or (e), any such payments made for the benefit of the Indirect

                      Purchaser Settlement Class shall be held in the Indirect Purchaser Escrow

                      Account for payment of relevant expenses such as Indirect Purchaser

                      Class Notice and for distribution to the Indirect Purchaser Settlement

                      Class.

         9.    Cooperation. The GEO Settling Parties shall provide cooperation to the Indirect

               Purchaser Class Plaintiffs and the Indirect Purchaser Settlement Class through

               Interim IPP Lead Counsel pursuant to the terms of this Paragraph. GEO will use

               its best efforts to obtain Ghazey’s and Steppig’s cooperation. Ghazey’s failure to

               provide any of the cooperation enumerated in this Paragraph 9 does not amount to

               a material breach of this Agreement. Steppig’s failure to provide any of the

               cooperation enumerated in this Paragraph 9—including any failure to provide

               testimony consistent with the attorney proffer provided to Interim IPP Counsel on




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               June 12, 2018—will not amount to a material breach of this Agreement by GEO

               or Ghazey, but will be deemed a material breach of this Agreement by Steppig.

               But for the cooperation enumerated in this Paragraph 9, all litigation activities

               related to the pursuit of claims by Indirect Purchaser Class Plaintiffs and the

               Indirect Purchaser Settlement Class against the GEO Settling Parties in the

               Consolidated Proceedings are subject to the Litigation Standstill set forth in

               Paragraph 3. All cooperation shall be coordinated with the Direct Purchaser Class

               Plaintiffs and Direct Action Direct Purchaser Class Members through Interim

               DPP Lead Counsel, as those terms are defined the Settlement Agreement Between

               Direct Purchaser Class Plaintiffs and Defendants GEO Specialty Chemicals, Inc.,

               Kenneth A. Ghazey and Brian C. Steppig, in such a manner so that all

               unnecessary duplication and expense is avoided. Specifically, interviews and

               depositions will be conducted jointly by Interim DPP Lead Counsel and Interim

               IPP Lead Counsel. Notwithstanding any other provision in this Agreement, the

               Parties to this Agreement may assert, where applicable, the work-product

               doctrine, the attorney-client privilege, the common interest, the joint defense

               privilege and/or any other applicable privilege or protection with respect to any

               documents, interviews, declarations and/or affidavits, depositions, testimony,

               material, and/or information requested under this Agreement. Any documents,

               declarations, affidavits, deposition testimony and information provided by the

               GEO Settling Parties pursuant to this provision shall be covered by the Stipulated

               Protective Order in place in the Consolidated Proceedings.          None of the




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               cooperation provisions are intended to, nor do they, waive any such privilege or

               protection.

               a.     Preliminary Approval.       The Parties agree to cooperate to the extent

                      reasonably necessary in connection with Interim IPP Lead Counsel’s

                      preparation of the motion for Preliminary Approval and any related

                      documents necessary to effectuate and implement the terms and conditions

                      of this Agreement.

               b.     Data for Class Notice. Within thirty (30) days after the Execution Date,

                      GEO shall supply to Interim IPP Lead Counsel at GEO’s expense and in

                      such form as kept in the regular course of business (electronic format if

                      available) the names and addresses of known Indirect Purchasers that

                      purchased Alum during the Settlement Class Period, or confirm that it has

                      provided such information previously.

               c.      Production of Documents. The GEO Settling Parties agree to complete

                      production of documents, as agreed by the Parties through meet and

                      confers as of the Execution Date, related to the Indirect Purchaser Class

                      Plaintiffs First Requests for Production (dated March 31, 2017). The GEO

                      Settling Parties are not obligated to produce a privilege log for any

                      documents withheld on the basis of the attorney-client or attorney work

                      product privilege. Any documents produced pursuant to this Agreement

                      shall be subject to the terms set forth in the Stipulated Protective Order in

                      the Consolidated Proceedings. In the event of a disagreement between the

                      Parties to this Agreement regarding the scope, burden, relevance or




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                       permissibility of any such requests, the Parties will seek resolution of such

                       disputes from the Court.

                d.     Proffers on Data. The GEO Settling Parties shall provide informational

                       proffers or written responses to questions raised by Interim IPP Lead

                       Counsel concerning the transactional data GEO has produced as of the

                       Execution Date, including how to use and understand any data produced

                       by GEO.

                e.     Responding to Requests from Indirect Purchasers. Counsel for GEO

                       shall use reasonable best efforts to respond to reasonable requests for

                       information from Interim IPP Lead Counsel and/or their experts for the

                       purpose of assisting with the pursuit of claims against any Non-Settling

                       Defendant in the Coordinated Proceedings.

                f.     Other Reasonable Cooperation Efforts.           The GEO Settling Parties

                       further agree as follows:

   Interviews with Interim IPP Lead Counsel:


         i.     In the case of Steppig, he shall submit to an interview with Interim IPP Lead

                Counsel and Interim DPP Lead Counsel, not to exceed eight (8) hours, during

                which he shall provide answers to all questions to the best of his ability from

                Interim IPP Lead Counsel regarding his respective knowledge of the sale,

                distribution, pricing, bidding or marketing of Alum including, but not limited to,

                any and all anti-competitive activity on behalf of GEO or any of GEO’s

                competitors (including, but not limited to, the other entities and persons named as

                Defendants in the Consolidated Proceedings) in connection with the sale,



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                distribution, pricing, bidding or marketing of Alum. The interview shall take

                place within sixty (60) days from Preliminary Approval, at a time and place

                mutually agreed upon by the Parties.


         ii.    In the case of GEO, it shall use its best efforts to make available up to two (2)

                additional current or former officers or employees of GEO (“GEO Cooperating

                Employees”) as may be requested in good faith by Interim IPP Lead Counsel and

                Interim DPP Lead Counsel for an interview with Interim IPP Lead Counsel and

                Interim DPP Lead Counsel, not to exceed eight (8) hours, during which the GEO

                Cooperating Employees shall provide answers to all questions to the best of their

                ability from Interim IPP Lead Counsel regarding their respective knowledge of

                the sale, distribution, pricing, bidding or marketing of Alum including, but not

                limited to, any and all anti-competitive activity on behalf of GEO or any of

                GEO’s competitors (including, but not limited to, the other entities and persons

                named as Defendants in the Consolidated Proceedings) in connection with the

                sale, distribution, pricing, bidding or marketing of Alum. The interviews shall

                take place within sixty (60) days from Preliminary Approval, at a time and place

                mutually agreed upon by the Parties.


   Providing of Declarations


         iii.   Steppig and the GEO Cooperating Employees shall, as reasonably requested by

                Interim IPP Lead Counsel, provide to Interim IPP Lead Counsel declarations

                and/or affidavits in connection with class certification motions, summary




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                judgment motions, Daubert motions, the authentication of GEO documents, or in

                connection with other motions or proceedings in the Consolidated Proceedings.


   Providing of Deposition Testimony


         iv.    Steppig and the GEO Cooperating Employees shall, during the period the Court

                permits depositions in the Consolidated Proceedings, make themselves available

                for a deposition and provide deposition testimony in the Consolidated

                Proceedings without the need for a subpoena. The Parties agree to cooperate in

                the scheduling of any such depositions.      GEO shall also use commercially

                reasonable efforts to assist Interim IPP Lead Counsel in arranging the deposition

                of any other former officers and employees of GEO, during the period the Court

                permits depositions in the Consolidated Proceedings, without the need for a

                subpoena.


   Appearance at Trial


         v.     Steppig and the GEO Cooperating Employees shall, as reasonably requested by

                Interim IPP Lead Counsel, make themselves available for testimony at trial

                without the need for a subpoena. GEO shall also use commercially reasonable

                efforts to assist Interim IPP Lead Counsel in arranging for the appearance of

                former officers and employees of GEO at trial. Interim IPP Lead Counsel shall

                reimburse the testifying witness for his or her reasonable out of pocket travel,

                lodging and meal expenses incurred in connection with such testimony at trial.




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         Other than as specifically set forth above, each Party shall be responsible for its own

         expenses, including legal fees, in connection with the cooperation obligations outlined

         above.

         10.      Material Breach and Reservation of Rights. The GEO Settling Parties agree that a

                  material breach of this Agreement will have occurred if any of the GEO Settling

                  Parties default under the terms of this Agreement, including as to GEO’s

                  obligations to provide the Settlement Funds (as set forth in Paragraph 8 of this

                  Agreement) and the GEO Settling Parties’ obligations to cooperate (as set forth

                  and as qualified in Paragraph 9 of this Agreement).       In the event the Indirect

                  Purchaser Class Plaintiffs or the Indirect Purchaser Settlement Class claim that

                  any of the GEO Settling Parties have violated any material provision of this

                  Agreement, the GEO Settling Parties have the right to dispute such claim by the

                  Indirect Purchaser Class Plaintiffs or the Indirect Purchaser Settlement Class. In

                  the event the Court finds such a material breach occurred, as to the breaching

                  party or parties only, the Indirect Purchaser Class Plaintiffs shall have the

                  unilateral right in their sole discretion to terminate this Agreement, in which event

                  this Agreement shall be voided and shall be of no force or effect, the Releases set

                  forth in Paragraphs 15 and 16 shall have no force or effect, any dismissal with

                  prejudice of the Indirect Purchaser Class Action or Final Judgment shall be of no

                  force or effect, and the Indirect Purchaser Class Plaintiffs (on behalf of the

                  Indirect Purchaser Settlement Class) and the Indirect Purchaser Settlement Class

                  Members shall be entitled to file a motion to reinstate and assert the full amount

                  of the Indirect Purchaser Settlement Class Members’ claims against the breaching




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               party or parties only as if they had never been dismissed or compromised, reduced

               only by the value of any consideration actually received, and with all statutes of

               limitations deemed tolled during the period between dismissal and reinstatement,

               and without the need to re-file their complaints or re-serve any Party with process.

               If for some reason the Court does not permit the reinstatement and reassertion of

               such claims as set forth in the preceding sentence, nothing in this Agreement shall

               be deemed to preclude the Indirect Purchaser Plaintiffs from enforcing any other

               rights they have under this Agreement including, but not limited to, enforcing

               their rights to any payments under this Agreement. If GEO defaults under the

               Agreement and commences a proceeding under Title 11 of the United States Code

               (a “GEO Bankruptcy”), GEO reserves its right to dispute its liability to the

               Indirect Purchaser Class Plaintiffs and the Indirect Purchaser Settlement Class.

               Nothing in this Agreement shall limit any argument or claim the Indirect

               Purchaser Class Plaintiffs or the Indirect Purchaser Settlement Class could assert

               in a GEO Bankruptcy. Additionally, the Indirect Purchaser Class Plaintiffs and

               the Indirect Purchaser Settlement Class agree that a material breach of this

               Agreement will have occurred if the Indirect Purchaser Class Plaintiffs or the

               Indirect Purchaser Settlement Class default under the terms of this Agreement. In

               the event that any of the GEO Settling Parties claim that the Indirect Purchaser

               Class Plaintiffs or the Indirect Purchaser Settlement Class have violated any

               material provision of this Agreement, the Indirect Purchaser Class Plaintiffs and

               the Indirect Purchaser Settlement Class have the right to dispute such claim of

               breach. In the event the Court finds such a material breach occurred, the GEO




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               Settling Party or Parties who have asserted such a breach shall have the unilateral

               right in its/their sole discretion to terminate this Agreement.   All rights, claims

               and defenses of the GEO Settling Parties and the Indirect Purchaser Class

               Plaintiffs and the Indirect Purchaser Settlement Class are otherwise reserved.

         11.   GEO Bankruptcy Sale. In the event that a GEO Bankruptcy case is commenced

               in order to effect a Sale, the Parties will use their best efforts to effectuate the

               performance of this Agreement in connection with the GEO Bankruptcy.

         12.   Qualified Settlement Fund. The Parties agree to treat the Settlement Funds as

               being at all times a Qualified Settlement Fund within the meaning of Treas. Reg.

               § 1.468B-1, and to that end, the Parties shall cooperate with each other and shall

               not take a position in any filing or before any tax authority that is inconsistent

               with such treatment. In addition, Interim IPP Lead Counsel shall timely make

               such elections as necessary or advisable to carry out the provisions of this

               Paragraph 12, including the relation-back election (as defined in Treas. Reg.

               § 1.468B-l(j)) back to the earliest permitted date. Such elections shall be made in

               compliance with the procedures and requirements contained in such regulations.

               It shall be the responsibility of Interim IPP Lead Counsel to timely and properly

               prepare and deliver the necessary documentation for signature by all necessary

               parties, and thereafter to cause the appropriate filing to occur. All provisions of

               this Agreement shall be interpreted in a manner that is consistent with the

               Settlement Funds being a “Qualified Settlement Fund” within the meaning of

               Treasury Regulation § 1.468B-1. Interim IPP Lead Counsel shall timely and

               properly file all information and other tax returns necessary or advisable with




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               respect to the Settlement Funds (including without limitation the returns described

               in Treas. Reg. § 1.468B-2(k), (1)).     Such returns shall reflect that all taxes

               (including any estimated taxes, interest or penalties) on the income earned by the

               Settlement Funds shall be paid out of the Settlement Funds. GEO shall not be

               responsible for the filing or payment of any taxes or expenses connected to the

               Qualified Settlement Fund.

         13.   Distribution of Settlement Funds to Settlement Class.

               a.     Members of the Indirect Purchaser Settlement Class who have not timely

                      and validly excluded themselves from the Class Action, shall be entitled

                      solely to the Settlement Funds for settlement and satisfaction against the

                      GEO Released Parties for the Released Claims, and shall not be entitled to

                      any other payment or relief from the GEO Released Parties. Except as

                      provided by order of the Court, no Indirect Purchaser Settlement Class

                      Member shall have any interest in the Settlement Funds or any portion

                      thereof.   Indirect Purchaser Class Plaintiffs, the Indirect Purchaser

                      Settlement Class, and their counsel will be reimbursed and indemnified

                      solely out of the Settlement Funds for all expenses including, but not

                      limited to, the costs of notice of the Settlement to the Indirect Purchaser

                      Settlement Class. The GEO Released Parties and GEO Settling Parties

                      shall not be liable for any costs, fees, or expenses of any of Indirect

                      Purchaser Class Plaintiffs’ or the Indirect Purchaser Settlement Class’s

                      respective attorneys, experts, advisors, or representatives, but all such

                      costs and expenses as approved by the Court shall be paid out of the




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                      Settlement Funds. If the Court grants Final Approval of this Agreement

                      pursuant to the provisions of Paragraph 6, and GEO’s right of rescission

                      under Paragraph 18 cannot be exercised or has been waived, Indirect

                      Purchaser Class Plaintiffs, with Court approval, may use the Settlement

                      Funds to pay such costs and expenses for the litigation of the Class Action

                      as set forth in this Paragraph.

         14.   No Objection to Fee Request or Case Contribution Awards. The GEO Settling

               Parties shall not take any position with respect to Indirect Purchaser Class

               Plaintiffs’ application for attorneys’ fees, up to a maximum of 33.3% of the total

               consideration made available to the Indirect Purchaser Settlement Class, and for

               reimbursement of costs and expenses. In addition, the GEO Settling Parties shall

               not oppose any request for Case Contribution Awards to Indirect Purchaser Class

               Plaintiffs. The procedure for and the grant or denial or allowance by the Court of

               attorneys’ fees, reimbursement of costs and expenses and Case Contribution

               Awards are considered by the Court separately from the Court’s consideration of

               the fairness, reasonableness, and adequacy of the Settlement, and any order or

               proceeding relating to the applications for attorneys’ fees, reimbursement of costs

               and expenses and Case Contribution Awards, or any appeal from any order

               relating thereto or the reverse or modification thereof, will not operate to

               terminate or cancel this Agreement, or affect or delay the finality of the Final

               Judgment approving the Agreement and the Settlement.

         15.   Release. Upon Final Judgment and in consideration of payment of the Settlement

               Funds into the Indirect Purchaser Escrow Account, and for other valuable




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               consideration, and provided that the GEO Settling Parties have not breached any

               of their material obligations under this Agreement, and provided that this

               Agreement has not been terminated, the GEO Released Parties shall be

               completely released, acquitted, and forever discharged from any and all claims,

               demands, actions, suits, causes of action, whether class, individual, or otherwise

               in nature (whether or not any Indirect Purchaser Settlement Class Member has

               objected to the Settlement or makes a claim upon or participates in the Settlement

               Funds, whether directly, representatively, derivatively or in any other capacity)

               that the Releasing Parties ever had, now has, or hereafter can, shall, or may ever

               have, that exist as of the date of Final Judgment, on account of, or in any way

               arising out of, any and all known and unknown, foreseen and unforeseen,

               suspected or unsuspected, actual or contingent, liquidated or unliquidated claims,

               injuries, damages, and the consequences thereof in any way arising out of or

               relating in any way to the facts and circumstances alleged in the Consolidated

               Proceedings (“Released Claims”), provided however, that nothing herein shall

               release claims involving or arising out of: (i) any negligence, personal injury,

               breach of contract, bailment, failure to deliver lost goods, damaged or delayed

               goods, product defect, securities or similar claim relating to Alum; or (ii) any

               purchase of Alum by a member of the Indirect Purchaser Class that was not an

               indirect purchase. In other words, to the extent any Indirect Purchaser also made a

               purchase of Alum directly from Geo or any of the other Defendants in the

               Consolidated Proceedings, any claims arising out of that direct purchase are not

               released herein. During the period after the expiration of the deadline for




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               submitting an opt-out notice, as determined by the Court, and prior to Final

               Judgment, all Releasing Parties shall be preliminarily enjoined and barred from

               asserting any Released Claims against the GEO Released Parties. The GEO

               Settling Parties further agree that they will not file any suit against the Releasing

               Parties and their current and former, direct and indirect, parents, subsidiaries,

               affiliates, directors, officers, shareholders, and employees arising out of or

               relating to the Released Claims. The release of the Released Claims will become

               effective as to all Releasing Parties upon Final Judgment. Upon Final Judgment,

               the Releasing Parties further agree that they will not file any other suit against the

               GEO Released Parties arising out of or relating to the Released Claims.

         16.   Further Release. In addition to the provisions of Paragraph 15, the Releasing

               Parties hereby expressly waive and release, solely with respect to the Released

               Claims, upon Final Judgment, any and all provisions, rights, and benefits

               conferred by Section 1542 of the California Civil Code, which states:

               CERTAIN CLAIMS NOT AFFECTED BY GENERAL RELEASE.        A
               GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
               CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
               FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
               KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
               OR HER SETTLEMENT WITH THE DEBTOR;

               or by any law of any state or territory of the United States, or principle of

               common law, which is similar, comparable, or equivalent to Section 1542 of the

               California Civil Code. Each Releasing Party may hereafter discover facts other

               than or different from those which he, she, or it knows or believes to be true with

               respect to the claims which are released pursuant to the provisions of Paragraph

               15, but each Releasing Party hereby expressly waives and fully, finally, and



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               forever settles and releases, upon Final Judgment, any known or unknown,

               suspected or unsuspected, contingent or non-contingent claim that the Releasing

               Parties have agreed to release pursuant to Paragraph 15, whether or not concealed

               or hidden, without regard to the subsequent discovery or existence of such

               different or additional facts.

         17.   Reservation of Claims. The Parties intend by this Agreement to release only the

               GEO Released Parties with respect to the Released Claims.             The Parties

               specifically do not intend this Agreement, or any part hereof or any other aspect

               of the proposed Settlement, to compromise or otherwise affect in any way any

               rights the Releasing Parties have or may have against any other person, firm,

               association, or corporation whatsoever, including, but not limited to the Non-

               Settling Defendants. The release set forth in Paragraphs 15 and 16 above is not

               intended to and shall not release any claims other than the Released Claims. The

               sales of Alum by GEO in the Indirect Purchaser States from January 1, 1997

               through February 28, 2011 shall remain in the cases against the Non-Settling

               Defendants in the Consolidated Proceedings as a basis for damage claims and

               shall be part of any joint and several liability claims against Non-Settling

               Defendants in the Consolidated Proceedings or other persons or entities other than

               the GEO Released Parties.

         18.   Opt-Out Protection. In the event that Indirect Purchasers representing a specified

               portion of relevant transactions during the Settlement Class Period timely opt-out,

               then GEO shall have the unilateral right in its sole discretion to terminate the




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               Agreement as set forth in Exhibit C, which shall, with the approval of the Court,

               be filed under seal or in camera, and publicly only if the Court so directs.

         19.   Dismissal of Bankruptcy Appeal.         Within ten (10) business days of Final

               Judgment, GEO shall dismiss with prejudice the Bankruptcy Appeal.

         20.   Effect of Disapproval and Rescission. If the Court does not certify the Indirect

               Purchaser Settlement Class as defined in this Agreement, or if the Court does not

               approve this Agreement in all material respects, or if the Court does not enter

               Final Approval as provided for in Paragraph 6, or if any judgment approving this

               Agreement is materially modified or set aside on appeal, or if all of the conditions

               for Final Judgment do not occur as set forth in Paragraph 1(k) of this Agreement,

               or if GEO rescinds the Agreement pursuant to Paragraph 10 or 18, then this

               Agreement may be cancelled and terminated:

               a.     By GEO with respect Paragraph 10 or 18, or

               b.     Otherwise by GEO or Indirect Purchaser Class Plaintiffs on behalf of the

                      Indirect Purchaser Settlement Class. If cancelled and terminated, this

                      Agreement shall become null and void, the Settlement Funds, net of

                      expended or incurred escrow fees and taxes as well as amounts expended

                      or incurred for Indirect Purchaser Class Notice (and associated claims

                      forms) pursuant to approval by the Court, shall be returned to GEO within

                      ten (10) days of such termination, the Parties shall be returned to their

                      respective positions in the Consolidated Proceedings as if this Agreement

                      had never been entered into without prejudice to any claims, rights or

                      defenses of the Parties, and the Release (set forth in Paragraphs 15 and 16)




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                      shall be voided and shall be of no force or effect, any dismissal with

                      prejudice of the Indirect Purchaser Class Action or Final Judgment shall

                      be of no force or effect, and the Indirect Purchaser Class Plaintiffs (on

                      behalf of the Indirect Purchaser Settlement Class) shall be entitled have

                      any Final Judgment vacated and have their respective claims alleged in

                      their complaints reinstated as if they had never been dismissed or

                      compromised, with all statutes of limitation deemed tolled between the

                      time of dismissal and re-instatement, and without the need to re-serve any

                      Party with process. The Parties and the Indirect Purchaser Settlement

                      Class expressly reserve all of their rights if Final Judgment is not entered

                      in accordance with the terms of this Agreement.

         21.   Consent to Jurisdiction. The Parties and any Releasing Parties hereby irrevocably

               submit to the exclusive jurisdiction of the Court for any suit, action, proceeding,

               or dispute arising out of or relating to this Agreement or the applicability of this

               Agreement. Without limiting the generality of the foregoing, it is hereby agreed

               that any dispute concerning the provisions of Paragraph 15 or 16, including but

               not limited to, any suit, action, or proceeding in which the provisions of Paragraph

               15 or 16 are asserted as a defense in whole or in part to any claim or cause of

               action or otherwise raised as an objection, constitutes a suit, action, or proceeding

               arising out of or relating to this Agreement. In the event that the provisions of

               Paragraph 15 or 16 are asserted by any GEO Released Party as a defense in whole

               or in part to any claim or cause of action or otherwise raised as an objection in

               any suit, action or proceeding, it is hereby agreed that such GEO Released Party




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               shall be entitled to a stay of that suit, action, or proceeding until the Court has

               entered a final judgment no longer subject to any appeal or review determining

               any issues relating to the defense or objection based on such provisions. Solely

               for purposes of such suit, action, or proceeding, to the fullest extent that they may

               effectively do so under applicable law, the Parties and any Releasing Parties

               irrevocably waive and agree not to assert, by way of motion, as a defense or

               otherwise, any claim or objection that they are not subject to the in personam

               jurisdiction of the Court.     Nothing shall be construed as a submission to

               jurisdiction for any purpose other than enforcement of this Agreement.

         22.   Class Action Fairness Act. GEO, at its sole expense, shall submit all materials

               required to be sent to appropriate Federal and State officials pursuant to the Class

               Action Fairness Act of 2005, 28 U.S.C. § 1715.

         23.   Costs Relating to Administration.      Subject to Paragraph 20 above, the GEO

               Settling Parties shall have no responsibility or liability relating to the

               administration, investment, or distribution of the Settlement Funds.

         24.   Binding Effect. This Agreement shall be binding upon, and inure to the benefit

               of, the successors, assigns, and heirs of the Parties, Indirect Purchaser Settlement

               Class Members, the Releasing Parties, and the GEO Released Parties. Without

               limiting the generality of the foregoing, upon certification of the Indirect

               Purchaser Settlement Class and Final Approval of the Settlement, each and every

               covenant and agreement herein by the Indirect Purchaser Class Plaintiffs shall be

               binding upon all Indirect Purchaser Settlement Class Members and Releasing

               Parties who have not validly excluded themselves from the Indirect Purchaser




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               Settlement Class; and upon Final Approval, each and every covenant and

               agreement herein shall be binding upon all Direct Action Indirect Purchaser

               Settlement Class Members (as confirmed by each Direct Action Indirect

               Purchaser Settlement Class Member by signing Exhibit D).

         25.   Authorization to Enter this Agreement.

               a.     The undersigned representatives of the GEO Settling Parties covenant and

                      represent that each such representative is fully authorized to enter into and

                      to execute this Agreement on behalf of the GEO Settling Parties.

               b.     Interim IPP Lead Counsel represents that they are fully authorized to

                      conduct settlement negotiations with defense counsel on behalf of the

                      Indirect Purchaser Class Plaintiffs and putative Indirect Purchaser

                      Settlement Class and have been authorized by City of Creston Water

                      Works Department to execute this settlement agreement but this

                      Settlement Agreement remains subject to approval and authorization from

                      the City of Homestead, FL.

               c.     The Parties further acknowledge that this Agreement represents the entire

                      agreement by and between them and that each makes no other

                      representation or warranty upon which the other can rely other than as

                      stated herein.

         26.   Notices. All notices under this Agreement shall be in writing. Each such notice

               shall be given either by: (a) hand delivery; (b) registered or certified mail, return

               receipt requested, postage pre-paid; or (c) Federal Express or similar overnight

               courier, and, in the case of either (a), (b) or (c) shall be addressed, if directed to




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               Indirect Purchaser Class Plaintiffs, Indirect Purchaser Settlement Class, or any

               Indirect Purchaser Settlement Class Member, to:



              Jay B. Shapiro                             Marvin A. Miller
              Stearns Weaver Miller Weissler Alhadeff    Miller Law LLC
              & Sitterson, P.A.                          115 S. LaSalle Street, Suite 2910,
              Museum Tower                               Chicago, IL 60603
              150 West Flagler Street, Suite 2200
              Miami, FL 33130


               if directed to GEO, to:

               James H. Mutchnik
               Kirkland & Ellis LLP
               300 North LaSalle
               Chicago, IL 60654

               Robert F. Ware
               Thompson Hine
               3900 Key Center
               127 Public Square
               Cleveland, Ohio 44114

               if directed to Ghazey, to:

               Nicholas Theodorou
               Foley Hoag LLP
               155 Seaport Blvd.
               Boston, MA 02210

               Robert F. Ware
               Thompson Hine
               3900 Key Center
               127 Public Square
               Cleveland, Ohio 44114

               if directed to Steppig, to:

               J. Bruce Maffeo
               Cozen O’Connor
               45 Broadway Atrium, Suite 1600
               New York, NY 10006




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               Robert F. Ware
               Thompson Hine
               3900 Key Center
               127 Public Square
               Cleveland, Ohio 44114

               or such other address as the Parties may designate, from time to time, by giving

               notice to all parties hereto in the manner described in this Paragraph.

         27.   No Admission. Whether or not Final Judgment is entered or this Agreement is

               terminated, the Parties expressly agree that this Agreement and its contents, and

               any and all statements, negotiations, documents, and discussions associated with

               it, are not and shall not be deemed or construed to be an admission or evidence of

               any violation of any statute or law or of any liability or wrongdoing by the GEO

               Released Parties.    Nothing in this Agreement shall affect the application of

               Federal Rule of Evidence 408 in any instance where it would otherwise apply.

         28.   No Third-Party Beneficiaries. No provision of this Agreement shall provide any

               rights to, or be enforceable by, any person or entity that is not a GEO Released

               Party, Indirect Purchaser Class Plaintiff, Indirect Purchaser Settlement Class

               Member, Direct Action Indirect Purchaser Settlement Class Member, or Interim

               IPP Lead Counsel (on behalf of the Indirect Purchaser Settlement Class and with

               respect to fees and disbursements to be paid from the Settlement Funds pursuant

               to Court order).

         29.   No Party is the Drafter. None of the Parties hereto shall be considered to be the

               drafter of this Agreement or any provision hereof for the purpose of any statute,

               case law, or rule of interpretation or construction that would or might cause any

               provision to be construed against the drafter hereof.




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         30.   Choice of Law.       All terms of this Agreement and the other documents

               contemplated herein shall be governed by and interpreted according to the

               substantive laws of the State of New Jersey, without regard to its choice of law or

               conflict of laws principles.

         31.   Amendment and Waiver. This Agreement shall not be modified in any respect

               except by a writing executed by the Parties, and the waiver of any rights conferred

               hereunder shall be effective only if made by written instrument of the waiving

               Party. The waiver by any Party of any particular breach of this Agreement shall

               not be deemed or construed as a waiver of any other breach, whether prior,

               subsequent or contemporaneous, of this Agreement. This Agreement does not

               waive or otherwise limit the Parties’ rights and remedies for any breach of this

               Agreement. Any breach of this Agreement may result in irreparable damage to a

               Party for which such Party will not have an adequate remedy at law.

               Accordingly, in addition to any other remedies and damages available, the Parties

               acknowledge and agree that the Parties may immediately seek enforcement of this

               Agreement by means of specific performance or injunction, without the

               requirement of posting a bond or other security.

         32.   Execution in Counterparts. This Agreement may be executed in counterparts,

               each of which shall be deemed an original, but all of which together shall

               constitute a single agreement. Facsimile or Electronic Mail signatures shall be

               considered as valid signatures as of the date hereof, although the original

               signature pages shall thereafter be appended to this Agreement and filed with the

               Court.




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          33.     Integrated Agreement. This Agreement comprises the entire agreement between

                  the Parties and the terms of this Agreement are contractual and are not a mere

                  recital. The Parties agree that this Agreement may be modified only by a written

                  instrument signed by the Parties and that no Party will assert any claim against

                  another based on any alleged agreement affecting or relating to the terms of this

                  Agreement not in writing and signed by the Parties.

          34.     Voluntary Settlement. The Parties agree that this Agreement and the Settlement

                  were negotiated in good faith by the Parties and reflect a Settlement that was

                  reached voluntarily after consultation with competent counsel and the

                  participation of a neutral mediator.

          IN WITNESS WHEREOF, the Parties, individually or through their duly authorized

   representatives, enter into this Agreement on the date first above written.




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                                     EXHIBIT A


Plaintiffs                                   Court            Case Number                   Date Filed
American Eagle Paper Mills                   DNJ              2:15-cv-08142                    11/18/2015
Amrex Chemical Company                       DNJ              2:15-cv-08227                    11/23/2015
Aqua Pennsylvania Inc.,
Aqua Ohio Inc.                               DNJ              2:16-cv-01331                      3/9/2016
Bay County, Florida                          DNJ              2:16-cv-00648                      2/5/2016
Board of Water
Commissioners of the City of Saint Paul,
Minnesota (a/k/a Saint Paul Regional                          0:15-cv-04582,
Water Services)                              DMN              2:16-cv-00844 (DNJ)              12/29/2015
Borough of Phoenixville                      DNJ              2:16-cv-00582                      2/2/2016
City of Akron, Ohio                          ND OH            5:18-cv-00991-JRA                 4/30/2018
City of Bloomington, Indiana                 DNJ              2:16-cv-01503                     3/17/2016
City of Charlotte                            DNJ              2:15-cv-08755                    12/18/2015
                                                              0:15-cv-04435,
City of Duluth                               DMN              2:16-cv-00834 (DNJ)              12/21/2015
City of East Moline                          EDPA             2:15-cv-06638                    12/15/2015
City of Fergus Falls, Minnesota, City of                      0:16-cv-00176,
Arcadia, Wisconsin, Utility Commission       DMN              2:16-cv-00849 (DNJ)               1/26/2016
                                                              0-16-cv-00171,
City of Grand Marais                         DMN              2:16-cv-00848 (DNJ)               1/26/2016
City of Lorain                               DNJ              2:16-cv-00453                     1/26/2015
                                                              2:16-cv-00319
City of Mattoon                              EDPA             2:16-cv-00870 (DNJ)               1/26/2016
                                                              2:16-cv-00673
City of Mesa                                 DAZ              2:16-cv-01712 (DNJ)               3/10/2016
                                                              2:16-cv-00212,
City of Milwaukee                            EDWI             2:16-cv-01386 (DNJ)               2/23/2016
                                                              0:15-cv-04434,
City of Minneapolis                        DMN                2:16-cv-00833 (DNJ)              12/21/2015
City of Moulton, Alabama, individually and
as successor in interest of Moulton Water                     5:16-cv-00866
Works Board                                NDAL               2:16-cv-03379-JLL-JAD (DNJ)       5/26/2016
City of Phenix City                        DNJ                2:16-cv-01116                     2/26/2016
                                                              2:16-cv-01906
City of Phoenix                              DAZ              2:16-cv-04257-JLL-JAD (DNJ)       6/13/2016
                                                              2:16-cv-00577,
City of Scottsdale                           DAZ              2:16-cv-01579 (DNJ)                3/2/2016
                                                              5:16-cv-01038
City of Shreveport                           DLA              2:16-cv-04679 (DNJ)               7/14/2016
                                                              0:16-cv-00091,
City of St. Cloud, Minnesota                 DMN              2:16-cv-00846 (DNJ)               1/15/2016
                                                              2:17-cv-01775
City of Stockton, CA                         E.D. CA          2:17-cv-06956-JLL-JAD (DNJ)       8/24/2017
East Valley Water District                   EDPA             2:15-cv-06799                    12/24/2015
                                                              2:15-cv-06421
Environmental Research and Design Inc.       EDPA             2:16-cv-00735 (DNJ)               12/3/2015

Hackettstown Municipal Utilities Authority   DNJ              3:16-cv-01022                     2/23/2016
Interstate Chemical Co., Inc.                DNJ              2:16-cv-00009                      1/4/2016
                                                              2:16-cv-00777
Jefferson County, Alabama                    NDAL             2:16-cv-03228 (DNJ)               5/11/2016
                                                              0:16-cv-00582
Lake Restoration Inc.                        DMN              2:16-cv-01581 (DNJ)                3/7/2016
                                                              0:15-cv-04303
Metropolitan Council                         DMN              2:16-cv-00734 (DNJ)               12/7/2015
Oakland County, Michigan                     DNJ              2:15-cv-08198                    11/20/2015




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                                              EXHIBIT B—Indirect Purchaser Settlement Class


1. This “Exhibit B—Indirect Purchaser Settlement Class” sets forth the equity compensation formula to be used to determine amounts payable
   from proceeds of a “Sale” (as that term is defined in Paragraph 8(c) of the Settlement Agreement).

2. Upon any Sale of GEO, a portion of the “Net Proceeds,” in varying percentages for each Tranche of Net Proceeds as determined from the
   following table, will be paid (in cash and/or in such form of non-cash consideration as may make up the Net Proceeds) to the Indirect
   Purchaser Settlement Class (the “IPSC”), subject to the overall cap on the dollar value of Net Proceeds to be paid to the IPSC that is set forth
   in Section 3 below.

                      Tranche                   Value of Net Proceeds in Tranche                      Percentage of Tranche
                                                                                                         Payable to IPSC
                        One                      From $0 and up to $200,000,000                            0.307918%
                        Two            Above $200,000,000 million and up to $250,000,000                   0.322581%
                       Three              Above $250,000,000 and up to $300,000,000                        0.337243%
                        Four              Above $300,000,000 and up to $1,000,000,000                      0.351906%


3. The maximum dollar value of the portion of Net Proceeds to be paid to the IPSC is $1,000,000 (the “IPSC Maximum Share”). The following
   table sets forth the maximum dollar value of Net Proceeds from each of Tranches One through Four that will be payable to the IPSC:

            Tranche               Value of Net Proceeds In Tranche              Maximum Tranche Value         Maximum Value to IPSC

              One                 From $0 and up to $200,000,000                     $200,000,000                     $615,836
              Two           Above $200,000,000 and up to $250,000,000                 $50,000,000                     $161,290
              Three         Above $250,000,000 and up to $300,000,000                 $50,000,000                     $168,621
              Four         Above $300,000,000 and up to $1,000,000,000               $700,000,000                      $54,253
                                                                   IPSC Maximum Share (All Tranches):                 $1,000,000


    If before the closing of a Sale, the IPSC receives payments based on GEO’s EBITDA in any of fiscal years 2018, 2019 or 2020, as
    contemplated in Paragraph 8(d) of the Settlement Agreement (“EBITDA-Based Payments”), the aggregate amount of any such EBITDA-

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     Based Payments so received will be credited against the portion of Net Proceeds, if any, otherwise payable to the IPSC under this Exhibit B up
     to the amount of the EBITDA-Based Payments so received.

     If before the closing of a Sale, the IPSC receives payments based on “Shareholder Distributions” by GEO, as contemplated by Paragraph 8(e)
     of the Settlement Agreement (“Shareholder Distribution Payments”), the aggregate amount of any such Shareholder Distribution Payments so
     received will be credited against the portion of Net Proceeds, if any, otherwise payable to the IPSC under this Exhibit B up to the amount of
     the Shareholder Distribution Payments so received.

4.   For purposes of this Exhibit B, the following terms have the meanings given to them below:

     “Charter Oak Notes” means the two 5% subordinated promissory notes issued by GEO on December 31, 2004, to Charter Oak Partners and
     Charter Oak Capital Partners, L.P., respectively.

     “GEO Second Lien Notes” means GEO’s Floating Rate Senior Secured Second Lien Convertible Notes due 2025.

      “GEO Shareholders” means all holders of GEO Shares.

     “GEO Shares” means all of GEO’s shares, including GEO’s common shares, without par value (which constitute the only class of shares
     provided for in GEO’s current Amended and Restated Articles of Incorporation), and any other class or classes of shares that may be issued
     by GEO from time to time.

     “Net Proceeds” (a) means $0, if and only if Pre-Conversion Net Proceeds is less than $1, and (b) in all other instances, means a dollar amount
     equal to the dollar amount of Post-Deemed Conversion Net Proceeds.

     “Post-Deemed Conversion Net Proceeds,” as to any Sale, means (a) the aggregate amount of cash consideration, plus (b) the aggregate fair
     market value of any non-cash consideration that would be received by GEO Shareholders in respect of all GEO Shares (assuming, for
     purposes of this definition, the conversion of all GEO Second Lien Notes into GEO Shares) in connection with the Sale (whether as proceeds
     from the purchase, redemption or surrender of GEO Shares, liquidation distributions with respect to GEO Shares, or otherwise) but for the
     payment of (x) the portion of the cash and/or non-cash consideration payable to the IPSC in the amounts provided for in this Exhibit B, and
     (y) those portions of that cash and/or non-cash consideration payable to other parties, in the amounts provided for in similar exhibits to other
     settlement agreements, each of which is between the respective other party and GEO and is entered into on the same date as the Settlement
     Agreement to which this Exhibit B is attached.

          Post-Deemed Conversion Net Proceeds will be determined in good faith by GEO, after consultation with IPSC, to give effect to the
          Settlement Agreement after satisfaction by GEO of (i) all obligations owing on account of GEO’s funded debt obligations (other than
          GEO Second Lien Notes), (ii) all amounts due under the Charter Oak Notes, (iii) severance compensation payable to GEO executives,

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    (iv) payments to be made under GEO’s incentive plans in connection with the closing of the Sale, (v) any amounts payable to the
    government as a fine or penalty in connection with GEO’s June 2016 plea agreement, (vi) cash payments required to be made to any
    plaintiff under any settlement agreement entered into between GEO and any such plaintiffs (other than any such payments that are
    payable only upon the occurrence of a Sale and are to be made pursuant to this Exhibit B or constitute a payment referenced in clause (y)
    of the foregoing definition of “Post-Deemed Conversion Net Proceeds”), (vii) transaction fees and expenses incurred in connection with
    the Sale, (viii) entity level federal, state or local taxes related to the Sale, and (ix) any other obligation of GEO that is required to be
    satisfied before GEO Shareholders receive proceeds from the Sale.

“Pre-Conversion Net Proceeds,” as to any Sale, means (a) the aggregate amount of cash consideration, plus (b) the aggregate fair market
value of any non-cash consideration that would be received by GEO Shareholders in respect of all GEO Shares in connection with the Sale
(whether as proceeds from the purchase, redemption or surrender of GEO Shares, liquidation distributions with respect to GEO Shares, or
otherwise) but for the payment of (x) the portion of the cash and/or non-cash consideration payable to the IPSC in the amounts provided for in
this Exhibit B, and (y) those portions of that cash and/or non-cash consideration payable to other parties, in the amounts provided for in
similar exhibits to other settlement agreements, each of which is between the respective other party and GEO and is entered into on the same
date as the Settlement Agreement to which this Exhibit B is attached.

    Pre-Conversion Net Proceeds will be determined in good faith by GEO, after consultation with IPSC, to give effect to the Settlement
    Agreement after satisfaction by GEO of (i) all obligations owing on account of GEO’s funded debt obligations (including, without
    limitation, GEO Second Lien Notes, but without the payment of any makewhole amount that may be due thereunder), (ii) all amounts
    due under the Charter Oak Notes, (iii) severance compensation payable to GEO executives, (iv) payments to be made under GEO’s
    incentive plans in connection with the closing of the Sale, (v) any amounts payable to the government as a fine or penalty in connection
    with GEO’s June 2016 plea agreement, (vi) cash payments required to be made to any plaintiff under any settlement agreement entered
    into between GEO and any such plaintiffs (other than any such payments that are payable only upon the occurrence of a Sale and are to
    be made pursuant to this Exhibit B or constitute a payment referenced in clause (y) of the foregoing definition of “Pre-Conversion Net
    Proceeds”), (vii) transaction fees and expenses incurred in connection with the Sale, (viii) entity level federal, state or local taxes related
    to the Sale, and (ix) any other obligation of GEO that is required to be satisfied before GEO Shareholders receive proceeds from the
    Sale.




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       EXHIBIT C FILED UNDER SEAL FOR IN CAMERA REVIEW PURSUANT TO TERMS OF
                               SETTLEMENT AGREEMENT
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                                             EXHIBIT D



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


    In Re: LIQUID ALUMINUM SULFATE                  Civil Action No. 16-md-2687 (JLL) (JAD)
    ANTITRUST LITIGATION


      RIDER FOR DIRECT ACTION INDIRECT PURCHASER SETTLEMENT CLASS
                                MEMBERS

          Pursuant to the Settlement Agreement Between Indirect Purchaser Class Plaintiffs and

   Defendants GEO Specialty Chemicals, Inc., Kenneth A. Ghazey and Brian C. Steppig (the

   “Agreement”), __________________________ is a Direct Action Indirect Purchaser Settlement

   Class Member, as defined in the Agreement, and agrees to the terms of the Agreement. As

   specified in the Agreement, __________________________ has agreed to be treated as a

   member of the Indirect Purchaser Settlement Class for purposes of the Agreement and consents

   to Interim IPP Lead Counsel, as defined in the Agreement, acting on its behalf for the purposes

   of this Agreement. __________________________ also agrees to file a stipulation of dismissal

   of its claims against the GEO Released Parties, with prejudice within ten (10) days of Final

   Judgment, as defined in the Agreement.



   Signature: ___________________________

   Name: ______________________________

   Date: _______________________________



   Counsel for _____________________
